EXHIBIT A
                                        CONFIGAIR LLC
                                    OPERATING AGREEMENT

THIS OPERATING AGREEMENT (this "Agreement") is made effective as of the 14th day of March,
2011 (the "Effective Date"), by and among ConfigAir LLC, a Connecticut limited liability company
(the "Company"), and the parties executing and delivering counterpart signature pages or joinder
agreements hereto.

On December 21, 2010, articles of organization and an original appointment of agent were filed
with the Secretary of State of the State of Connecticut (the "SOS") forming the Company.

1. Governance.
    a. The Company is and shall be a "manager-managed" limited liability company, and a board
       of directors (the "Board"), which shall act by majority approval, is and shall collectively be
       considered the Company's manager (the "Manager"). The authorized number of directors
       on the Board shall initially be four (4), and may be adjusted from time to time by the Board.
       The following individuals shall initially serve on the Board: Nizwer Husain, Henry Kurz,
       Daniel Naus, and Dung Nguyen.

     b. Subject to Section 1(c) and 1(d), the Manager is hereby authorized and empowered to carry
        out and implement any and all of the purposes of the Company, including, but not limited to,
        the following:
        i. make, or permit any subsidiary to make, any loan or advance to, or own any stock or
             other securities of, any subsidiary or other corporation, partnership, or other entity
             unless it is wholly owned by the Company;
        ii. make, or permit any subsidiary to make, any loan or advance to any person, including,
             without limitation, any employee or director of the Company or any subsidiary, except
             advances and similar expenditures in the ordinary course of business or under the
             terms of an employee stock or option plan approved by the Board;
        iii. guarantee, directly or indirectly, or permit any subsidiary to guarantee, directly or
             indirectly, any indebtedness except for trade accounts of the Company or any subsidiary
             arising in the ordinary course of business;
        iv. approve of any investment consistent with any investment policy approved by the
             Board;
        v. incur any aggregate indebtedness that is not already included in a budget approved by
             the Board, other than trade credit incurred in the ordinary course of business;
        vi. otherwise enter into or be a party to any transaction with any director, officer, or
             employee of the Company or any "associate" (as defined in Rule 12b-2 promulgated
             under the Exchange Act) of any such person, except for transactions contemplated by
             this Agreement, and transactions made in the ordinary course of business and pursuant
             to reasonable requirements of the Company's business and upon fair and reasonable
             terms that are approved by a majority of the Board;
        vii. hire, terminate, or change the compensation of the executive officers, including
             approving any option grants or stock awards to executive officers;
        viii. change the principal business of the Company, enter new lines of business, or exit the
             current line of business;
         ix. sell, assign, license, pledge, or encumber material technology or intellectual property,
             other than licenses granted in the ordinary course of business; or




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   x.     enter into any corporate strategic relationship involving the payment, contribution, or
          assignment by the Company or to the Company of money or assets less than $100,000.

c. The right and power of the members to vote and act shall be limited to (i) those actions
   specified in section 1(d) below or otherwise specified in this Agreement; and (ii) those
   actions under applicable law as to which the members are required to vote and act. Any
   vote or act of the members shall require the consent of members holding a majority of the
   vested Shares then outstanding, which may be given electronically. Each member shall
   have the right to inspect and review the books and records of the Company on reasonable
   notice to the Manager.

d. The Manager shall not have the authority to, take any of the following actions on behalf of
   the Company without approval of members holding a majority of the vested Shares then
   outstanding:

   i.   election of managers to fill initial positions or vacancies
   ii.  admission of new members
   iii. dissolution
   iv.  amendment to the Articles of Organization
   v.   authorization for any contravention of the operating agreement
   vi.  approval of any plan or merger or consolidation
   vii. release of a member (including a past member who has assigned his membership
        interest to an assignee) from his/her liability to the Company in respect to their
        obligation (made in writing) to make a contribution;
   viii. disassociation of a member in the event of assignment for the benefit of creditors,
        voluntary petition of bankruptcy, adjudication of bankruptcy or insolvency,
        appointment of a trustee, receiver or liquidator, death or incompetency, termination of
         trust (if member is a trust) or dissolution/winding up of an entity (if member is such
         entity);
   ix. abandonment of approved plan of merger or consolidation (unless provided for with a
         different required vote in such approved plan)

e. The officers of the Company shall be appointed by the Manager. Initially, Daniel Naus is and
   shall be the "Chief Executive Officer" and "President" of the Company; Nizwer Husain is and
   shall be the "Chief Financial Officer" and "Treasurer" of the Company; Henry Kurz is and
   shall be the "Chief Technology Officer" and "Vice President" of the Company; and Dung
   Nguyen is and shall be the "Chief Information Officer" and "Secretary" of the Company.
   These positions have and shall have the general rights and duties of comparable positions
   in a Connecticut corporation under the Connecticut Business Corporation Act, provided that
   the Manager may modify the scope or terms of each such position generally or in a specific
   instance. Vacancies may be filled or new offices created and filled at any meeting of the
   Manager. Each officer shall hold office until such officer's successor shall be duly appointed
   or until the officer's death or until the officer shall resign or shall have been removed in the
   manner hereinafter provided. An officer may resign at any time by delivering notice to the
   Company. A resignation shall be effective when the notice is delivered unless the notice
   specifies a later effective date. If a resignation is made effective at a later date and the
   Company accepts the future effective date, the Manager may fill the pending vacancy before
   the effective date if the Manager provides that the successor shall not take office until the
   effective date. The Manager may remove any officer at any time with or without cause.
2. Membership Interests; Membership.
   a. Membership interests are and shall be represented by "Shares." The Manager may grant
      and issue Shares, whether directly or indirectly through options or warrants, and whether
      to evidence "capital interests" or "profits interests," and whether voting or non-voting, and
      whether fully-vested or subject to vesting, all on terms agreed to by the Manager. The
      terms of any such Shares shall be set forth on the counterpart signature pages or joinder
      agreements executed and delivered by each respective member.

   b. Third Party Transfers. Except as set forth in Section 2(c), no member may dispose of any or
      all of his, her or its Shares without the express, written consent of the Manager.
      Notwithstanding the foregoing, a member may transfer or otherwise dispose of its Shares
      to a third party in accordance with the following:

      i.    If any member (a "Transferring Member") desires to sell, transfer or otherwise dispose
            of any of it Shares (the "Offered Shares") to a third party pursuant to a bona fide offer of
            cash or indebtedness (a "Voluntary Transfer"), the Transferring Member shall first
            deliver to the Company a notice of sale that sets forth the terms and conditions of such
            transaction (the "Notice of Sale"). Any proposed Voluntary Transfer in which the
            purchase price does not consist of cash or indebtedness shall not be considered a bona
            fide offer, shall not be deemed a Voluntary Transfer and shall not give the undersigned
            the right to avail itself of these provisions.

      ii. Upon receipt of the Notice of Sale, the Company shall be entitled to purchase some or all
          of the Offered Shares at the price and on the terms specified in the Notice of Sale. The
          Company shall deliver to the Transferring Member written notice of its election to
          purchase some, all or none of such Offered Shares, as the case may be, within ten (10)
          days after its receipt of the Notice of Sale (the "Notice of Election"). The Company may
          assign its purchase rights hereunder to some or all of the non-transferring members, at
          the discretion of the Manager.

      iii. If the Company (or its assignee) does not elect to purchase all of the Offered Shares,
           then the Transferring Member shall be entitled to transfer those Offered Shares not
           purchased to the third party at the price and on the terms specified in the Notice of Sale,
           provided that (a) such right of Voluntary Transfer shall terminate and expire if such
           Voluntary Transfer is not consummated within thirty (30) days after the termination of
           the ten (10) day period described above, and (b) each transferee who or which is not
           presently a member of the Company shall agree in writing to be subject to all
           restrictions and obligations set forth in this Agreement.

   c. Company and Member Purchase Rights. Upon the withdrawal of a member (a "Withdrawing
      Member"), the Company first and then the remaining members shall have the option to
      purchase all or a portion of the membership interest of the Withdrawing Member pursuant
      to the following:

       i.   In the event of the death or Disability (as defined below) of a member (a "Death or
            Disability Withdrawal"), the purchase price per Share sold pursuant to this Section 2(c)
            shall be, the quotient of (i) the Agreed Value (as defined below) as of the Determination
            Date divided by (ii) the aggregate number of all outstanding Shares.



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    In the event that the members holding a majority of the vested Shares then outstanding
    elect to cause the withdrawal of a Member for Cause (as defined below)(an
    "Involuntary Withdrawal") or in the event that a Member elects to withdraw from the
    Company for any reason other than as a result of an Involuntary Withdrawal (a
    "Voluntary Withdrawal"), the purchase price for the entire membership interest of the
    Withdrawing Member shall be equal to the initial capital investment of that member.

ii. The Company's purchase option (the "Company Purchase Option") may be exercised in
    whole or in part by the Manager on behalf of the Company, by giving written notice to
    the Withdrawing Member within 30 days after the Withdrawal Event (as defined
    below). The notice shall state the portion of the membership interest of the
    Withdrawing Member being purchased (if less than all), the purchase price (determined
    in accordance with Section 2(c)(i) or Section 2(c)(ii), as applicable) for the membership
    interest of the Withdrawing Member and the proposed time and date of closing (which
    shall be at least 10 days following the date the notice is mailed). The closing of the
    purchase of the membership interest of the Withdrawing Member sold shall occur when
    stated in the Company's notice at the principal place of business of the Company or at
    such other time and place as the Withdrawing Member and the Company shall agree.
    Upon any purchase by the Company, the membership interest so purchased and the
    related Shares shall be canceled.

iii. If the entire membership interest of the Withdrawing Member is not purchased by the
     Company in accordance with Section 2(c)(iii), then the other members of the Company
     shall have the option (the "Member Purchase Option") to purchase the remaining
     portion of such membership interest of the Withdrawing Member. In such case, the
     Manager shall call a meeting of all of the members (upon not less than 10 nor more than
     30 days' prior written notice) to be held within the 60-day period following the
     Withdrawal Event. The notice of the meeting shall state the portion of the membership
     interest of the Withdrawing Member remaining to be purchased and the purchase price
     therefore (determined in accordance with Section 2(c)(i) or Section 2(c)(ii), as
     applicable). At such meeting, the membership interest of the Withdrawing Member (or
     such portion thereof as was not purchased by the Company) shall be offered for sale
     and shall be subject to an option on the part of each member (excluding the
     Withdrawing Member) to purchase an amount of the membership interest of the
     Withdrawing Member that equals such member's pro rata membership interest in the
     Company (determined in this case by excluding the Withdrawing Member). If any
     member does not purchase all of the portion of the membership interest of the
     Withdrawing Member that he is entitled to purchase under this Section 2(c)(iv), then
     the other members who have elected to purchase the entire portion of the membership
     interest of the Withdrawing Member that they are entitled to purchase may purchase all
     or a proportionate portion of the membership interest of the Withdrawing Member
     remaining to be purchased (based upon the relative Shares of those desiring to
     purchase).     Members' options to purchase under this Section2(c)(iv) shall be
     exercisable only at the meeting of the members described herein, and the closing of the
     sale of any portion of the membership interest of the Withdrawing Member that is being
     sold to the other members shall occur at such meeting of members.

iv. If the Company and/or the members do not purchase the entire membership interest of
    the Withdrawing Member available, the Withdrawing Member shall remain a member


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      of the Company (to the extent of such member's remaining membership interest) and
      shall continue to be bound by the terms of this Agreement.

   v. Immediately following the purchase by the Company and/or the members of the entire
      membership interest of the Withdrawing Member, and without any further action by
      the Company, the Manager or the members, the Withdrawing Member shall not be
      entitled to participate in the management and control of the business and affairs of the
      Company, including the right to vote on any matters requiring a vote of the Members
      pursuant to this Agreement or applicable law.

   vi. For the purposes of Section 2(c), the following terms shall have the following meanings:

       (1) "Agreed Value" means that amount to be determined by an appraiser selected by the
           mutual agreement of the purchasing member(s), the Company, and the
           Withdrawing Member (or his personal representative); or if they are unable to
           agree, the Agreed Value shall be the value determined by the concurrence of three
           (3) independent appraisers, one selected by the purchasing member(s), one
           selected by the Withdrawing Member or his personal representative, and a third
           selected by the other two appraisers. All such appraisers shall be disinterested,
           independent of any of the parties, and qualified by training or experience to perform
           such appraisal. In the event a vote of the members is taken to determine the
           Company's choice of an appraiser, the Shares subject to purchase shall not be
           entitled to vote with regard to such determination. All costs of any appraisal under
           this Section 2(c)(vii)(1) shall be borne by the Withdrawing Member.
       (2) "Cause" means any of the following with respect to a member: [(1) gross negligence
           or willful misconduct that has a material adverse affect on the Company; (2) fraud
           or material theft or embezzlement from the Company; or (3) failure of such member
           to spend at least 50% of their business time on the business and affairs of the
           Company.]
       (3) "Disability" means [the disability or impairment of health, as certified by a physician
           acceptable to both the Company and the relevant member, which shall be conclusive
           of the fact that Member is or has been disabled for the purposes of this Agreement.]
       (4) "Withdrawal Event" means either an Involuntary Withdrawal, a Voluntary
           Withdrawal or a Death and Disability Withdrawal.
d. For so long as a member has not withdrawn or been removed as a member, whether
   voluntarily or involuntarily, each member shall be made "guaranteed payments" payable in
   arrears in accordance with the compensation schedule attached hereto as Exhibit A, such
   compensation schedule being subject to modification from time to time upon consent of the
   members. Such guaranteed payments shall terminate immediately upon such member's
   withdrawal, resignation, removal or expulsion, whether voluntarily or involuntarily. This
   compensation will remain in place until the company reaches a comfortable growth and
   profitability margin to sustain ramp of the business.

e. No person, corporation, firm, partnership or any other entity, including any transferee who
   obtains Shares in accordance with Section 2(b), shall become a member unless the
   following conditions are satisfied:
      i.   the prospective member executes and acknowledges such instruments as the Manager
           deems necessary or desirable to effect such admission, including, but not limited to, the
           written acceptance and adoption by the prospective member of the provisions of this
           Agreement; and

      ii. the members holding a majority of the vested Shares then outstanding have consented
          to the admission.

3. Covenants. In consideration of the Shares granted and issued to each member, each such
   member agrees as follows:

   a. All technology, ideas, concepts, inventions, improvements, programs, designs, techniques
      and other works of authorship and development (including but not limited to all copyright,
      trademark, patent, trade secret, know-how and intellectual property rights associated
      therewith) developed, devised, made, learned of, conceived or reduced to practice by the
      member, either solely or in collaboration with others, whether before, on or after the date
      of this Agreement, up until and including the final date on which the member holds an
      interest in or is otherwise engaged by the Company, and which directly relates to the
      business of the Company (the "Work Product"), is, will become and will remain the
      Company's exclusive property. The Company does and will own all right, title and interest
      in and to the Work Product.

   b. All Work Product is "works made for hire," and the Company is the "person for whom the
      work was prepared." As between the parties, the Company is and will be considered the
      author and/or owner, as appropriate, of the Work Product for purposes of patent, copyright
      or trademark law, and is and will be entitled to secure patent, copyright and trademark
      protection in the Company's name, if and as applicable, and the member agrees to
      cooperate with the Company as reasonably necessary for the Company to secure such
      patent, copyright and trademark protection. To the extent that the Work Product and any
      intellectual property rights therein or related thereto are deemed or treated as not "works
      made for hire," the member hereby expressly and irrevocably assigns to the Company all of
      the member's right, title and interest in and to the Work Product and any and all intellectual
      property rights therein or related thereto.

   c. The member represents and warrants to the Company that the member has full authority to
      enter into this Agreement and that in performing under this Agreement, the member will
      not violate the terms of any agreement with any third party. The member has disclosed,
      and will continue to disclose to the Company, all tools, technology or other intellectual
      property owned or held by a third party which is used by the member in connection with
      the member's involvement with the Company.

   d. The member will have access to and will participate in the development of and/or be
      acquainted with confidential or proprietary information of the Company ("Confidential
      Information"). The term "Confidential Information" will not include any information that is
      or becomes generally publicly available (other than as a result of violation of this
      Agreement by the member). For so long as the member holds an interest in or is otherwise
      engaged by the Company, and up until and including the [five] year anniversary of the final
      date on which the member holds an interest in or is otherwise engaged by the Company, the
      member will not disclose, use or make known for the member's or another's benefit (other
      than for the benefit of the Company) any Confidential Information or use any such
     Confidential Information in any way. Upon termination of the member's relationship with
     the Company for any reason, the member shall immediately return to the Company all
     Confidential Information in whatever form maintained (including, without limitation,
     computer discs and other electronic media).

e. For so long as the member holds an interest in or is otherwise engaged by the Company,
   and up until and including the one year anniversary of the final date on which the member
   holds an interest in or is otherwise engaged by the Company, the member will not directly
   or indirectly (whether as an officer, director, member, proprietor, associate, representative,
   consultant or in any capacity whatsoever) engage in, become financially interested in, be
   employed by or have any business connection with any person, corporation, firm,
   partnership or any other entity whatsoever which competes with the Company anywhere
   in the world.

f.   For so long as the member holds an interest in or is otherwise engaged by the Company,
     and up until and including the one year anniversary of the final date on which the member
     holds an interest in or is otherwise engaged by the Company, the member will not solicit,
     directly or indirectly, any customers of the Company who or which were customers of the
     Company at any time during the Member's relationship with the Company, nor shall the
     member solicit any potential customers of the Company with whom the member had
     contact on behalf of the Company during their relationship with the Company.

g. For so long as the member holds an interest in or is otherwise engaged by the Company,
   and up until and including the one year anniversary of the final date on which the member
   holds an interest in or is otherwise engaged by the Company, the member will not solicit or
   hire, directly or indirectly, on the member's behalf or on behalf of any other person or
   entity, any person employed or otherwise engaged by the Company except with the specific
   written consent of the Company.

h. The member represents that the member's experience, capabilities and circumstances are
   such that the provisions of this Agreement will not prevent the member from earning a
   livelihood. The member further agrees that the limitations set forth in this Agreement
   (including, without limitation, the time and territorial limitations) are reasonable and
   properly required for the adequate protection of the current and future businesses of the
   Company. The member further acknowledges that a remedy at law for any breach or
   threatened breach of the provisions of this agreement would he inadequate and will cause
   immediate and irreparable harm to the Company in a manner that cannot be measured nor-
   adequately compensated in damages. The Member further acknowledges that in the event
   of any such breach or threatened breach, and in addition to any and all other remedies that
   it may have at law or in equity, the Company shall be entitled to temporary, preliminary and
   permanent injunctive relief to restrain such breach or threatened breach by the Member,
   and to recover all costs and expenses, including reasonable attorneys' fees, of any
   proceedings brought to obtain such injunctive relief. Nothing contained herein shall restrict
   or limit in any manner the Company's right to seek and obtain any form of relief, legal or
   equitable, against the member in an action brought to enforce its rights hereunder.

i.   The member's obligations under this Section 4 shall apply to any time during which the
     member was previously retained by the company as a member, manager, principal, officer,
     employee, consultant or contractor.
4. Capital Contributions.
   a.   Each of the Members covenants and agrees to contribute to the capital of the Company that
        sum set forth on the joinder agreements executed and delivered by each respective
        member, for which such member shall receive appropriate credit to his or her capital
        account (each a "Capital Account").

   b. lithe Manager determines that the Company requires additional capital, then, subject to the
      other provisions of this Agreement, the Manager may authorize the Company to issue such
      additional Shares, or such other equity securities and/or debt instruments of the Company,
      as shall be sufficient to satisfy the additional capital requirements of the Company, at such
      price and on such terms as the Manager determines to be appropriate (such additional
      Shares, equity securities and/or debt instruments, the "Offered Securities"). The members
      may, but shall not be obligated to, purchase such Offered Securities in proportion to the
      number of Shares owned by each of them relative to the total number of Shares then issued
      and outstanding, as determined on a fully-diluted basis. The Manager shall provide the
      members with written notice of the proposed issuance, which notice shall set forth, in
      reasonable detail, the material terms of such issuance, at least thirty (30) days prior to the
      proposed date of issuance. Each member shall notify the Manager no later than fifteen (15)
      days after receipt of the written notice as to whether or not he, she or it desires to purchase
      any of the Shares to he issued by the Company. If any member declines to subscribe for all
      such Offered Securities permitted to be purchased by such member, then the other
      members may purchase such unsubscribed Offered Securities in proportion to the number
      of Shares owned by each of them. The Manager may sell the unpurchased Offered Securities
      remaining to third parties at a price not less than that offered to the members. Nothing
      herein shall prohibit the Company from issuing securities or debt instruments convertible
      into Shares, provided that it first offers to issue such securities or debt instruments to the
      members as "Offered Securities" in accordance with the provisions of this Section 4.

   c.   No Member shall have the right to withdraw any of its Capital Account, except upon
        dissolution, winding up and liquidation of the Company as provided in this Agreement. No
        Member shall be entitled to receive any interest on its Capital Account, or any portion
        thereof.

5. Dissolution of Company.
   a. The Company shall be dissolved upon the earliest to occur of any of the following events (an
      "Event of Dissolution"), it being understood and agreed that the death, resignation,
      retirement, expulsion, bankruptcy or dissolution of a member, or the occurrence of any
      other event that terminates the continued membership of a member in the Company under
      applicable law, shall not constitute an Event of Dissolution:

        i.   Written consent of the members holding a majority of the vested Shares then
             outstanding; or

        ii. The entry of a decree of judicial dissolution under applicable law.

    b. The Company shall terminate when all Company assets have been disposed of (except for
       any liquid assets not so disposed of), and the net proceeds therefrom, as well as any other
       liquid or illiquid assets of the Company, shall, unless otherwise required by applicable law,
       be distributed as follows: (i) first, to the payment of the Company's debts and obligations to

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        its creditors (including loans, if any, to the Company from members); (ii) second, to the
        establishment of and additions to such reserves as the Manager deems necessary or
        appropriate; and (iii) third, to the members, pro rata, in accordance with their respective
        membership interest in the Company.

   c.   Following such distributions and the completion of winding up the affairs of the Company,
        the Manager is authorized and directed to have prepared and file a certificate of
        cancellation of the Company with the Connecticut Secretary of State in accordance with
        applicable law, and take any and all other actions as may be necessary and/or appropriate
        under applicable law to dissolve and terminate the Company.

6. General Provisions.
   a. This Agreement shall inure to the benefit of and be binding upon the Company and each of
      the members, and the legal representatives, successors and assigns of each. The term
      "successors and assigns" as used herein shall include a corporation or other entity acquiring
      all or substantially all of the business of the Company (whether such acquisition is by way
      of acquisition of assets, acquisition of stock, merger, consolidation or otherwise, and
      whether by operation of law or otherwise). Specifically, as to each member, the foregoing
      invention assignment and confidentiality provisions shall survive the termination of such
      member's engagement by or relationship with the Company (whether as a member or
      otherwise) and the assignment of this Agreement by the Company to any successor in
      interest or other assignee.
   b. Except where the pursuit of equitable, injunctive or judicial relief is otherwise expressly
      authorized in this Agreement, if any dispute shall arise between the members as to their
      rights or liabilities under this Agreement, the dispute shall be exclusively determined, and
      the dispute shall be settled, by arbitration in accordance with the commercial rules of the
      American Arbitration Association. The arbitration shall be held in the state of Connecticut
      before a panel of three arbitrators, all of whom shall be chosen from a panel of arbitrators
      selected by the American Arbitration Association (or such other independent dispute
      resolution body to which they shall mutually agree). Each of the parties to the dispute shall
      select one arbitrator and the two arbitrators so selected shall select the third arbitrator. If
      the two arbitrators are unable to agree upon the third arbitrator, the third arbitrator shall
      be selected by the American Arbitration Association (or such other independent body to
      which they shall mutually agree). The decision of the arbitrators shall be final and binding
      upon the members and the Company and judgment upon such award may be entered in any
      court of competent jurisdiction. The costs of the arbitrators and of the arbitration shall be
      borne equally by all parties to the arbitration. The costs of each party's counsel,
      accountants, etc., as well as any costs solely for their benefit, shall be borne separately by
      each party. each of the members hereby acknowledges that this provision constitutes a
      waiver of their right to commence a lawsuit in any jurisdiction with respect to the matters
      which arc required to be settled by arbitration as provided in this Section 4(b).
   c. This Agreement shall be governed by and construed in accordance with the internal laws
      (and not the law of conflicts) of the State of Connecticut and the federal laws of the United
      States applicable therein. Any and all disputes arising under this Agreement, whether as to
      interpretation, performance or otherwise, shall be subject to the exclusive jurisdiction of
      the courts of the County of Fairfield, State of Connecticut and the federal courts located
      therein and each of the parties hereto hereby irrevocably attorns to the exclusive
      jurisdiction of the courts of the County of Fairfield, State of Connecticut and the federal


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     courts located therein. None of the parties shall contest in any other jurisdiction the
     enforcement of any judgment or award of the courts of the County of Fairfield, State of
     Connecticut in relation to this Agreement.
d. The parties intend this Agreement to be enforced as written. However, if any portion or
   provision of this Agreement is to any extent declared illegal or unenforceable by a duly
   authorized court having jurisdiction, then the remainder of this Agreement, or the
   application of such portion or provision in circumstances other than those as to which it is
   so declared illegal or unenforceable, will not be affected thereby, and each portion and
   provision of this Agreement will be valid and enforceable to the fullest extent permitted by
   law.
e. This Agreement may he amended or restated only by a written instrument signed by such
   members constituting two-thirds of the vested Shares then outstanding.
f.   This Agreement may be executed in one or more counterparts, and by facsimile or PDF, all
     of which shall constitute one and the same original instrument. This Agreement shall
     constitute the Company's "Operating Agreement," as defined in the Connecticut Limited
     Liability Company Act.
                                 [Signature Page Follows/
IN WITNESS WHEREOF, the Company has executed this Agreement effective as of the Effective
Date.

CONFIGAIR LLC


Signature:


Name and Title: Daniel Naus, CEO and President


Date:             OS/H/ZDil
                                          EXHIBIT A

                   Member Guaranteed Payments Compensation Schedule

All initial members are compensated with guaranteed payments per Section 2(d) of the Agreement
in the amount of $2000 monthly, $24,000 annually.
                                     CONFIGAIR LLC
                            JOINDER TO OPERATING AGREEMENT

The undersigned is hereby made a party to the Operating Agreement of CONFIGAIR LLC (as such
Operating Agreement is in effect on the date hereof and as it is from time to time amended and/or
restated hereafter) as a "member" thereunder, and the undersigned hereby agrees to be bound by
and to comply with the terms of the Operating Agreement.

 The 200,000 Shares hereby issued to the undersigned by the Company are fully-vested, with
full voting rights. The Shares are being sold and issued to the undersigned in consideration of
a capital contribution in the amount of $20,000.00.

This Joinder may he executed in one or more counterparts, and all counterparts so executed shall
constitute one Joinder.

The undersigned hereby agrees and acknowledges that this Joinder shall become effective and
enforceable against the undersigned immediately upon its execution and delivery by the
undersigned and its acceptance by the Company.

NAME: Henry Kurz


Signature:                 A,/


Date:   0(- /01 / 2O (.1


AGREED TO AND ACCEPTED BY:

CONFIGAIR LLC

Signature:


Name and Title: Daniel Naus, CEO and President

Date:               P3//v/zon
                                         CONFIGAIR LLC
                             JOINDER TO OPERATING AGREEMENT
The undersigned is hereby made a party to the Operating Agreement of CONFIGAIR LL,C (as such
Operating Agreement is in effect on the date hereof and as it is from time to time amended and/or
restated hereafter) as a "member" thereunder, and the undersigned hereby agrees to be bound by
and to comply with the terms of the Operating Agreement.

 The 100,000 Shares hereby issued to the undersigned by the Company are fully-vested, with
full voting rights. The Shares are being sold and issued to the undersigned in consideration of
a capital contribution in the amount of $20,000.00.

This Joinder may be executed in one or more counterparts, and all counterparts so executed shall
constitute one Joinder.

The undersigned hereby agrees and acknowledges that this Joinder shall become effective and
enforceable against the undersigned immediately upon its execution and delivery by the
undersigned and its acceptance by the Company.

NAME: Dung Nguyen


Signature:


Date:             2//2-1-/        01/

AGREED TO AND ACCEPTED BY:

CONFIGAIR 1.1C

Signature:


Name and Title: Daniel Naus, CEO and President

Date:               93//9/011
                                         CONFIGAIR LLC
                            JOINDER TO OPERATING AGREEMENT
The undersigned is hereby made a party to the Operating Agreement of CONFIGAIR LLC (as such
Operating Agreement is in effect on the date hereof and as it is from time to time amended and/or
restated hereafter) as a "member" thereunder, and the undersigned hereby agrees to be bound by
and to comply with the terms of the Operating Agreement.

 The 200,000 Shares hereby issued to the undersigned by the Company are fully-vested, with
full voting rights. The Shares are being sold and issued to the undersigned in consideration of
a capital contribution in the amount of $20,000.00.

This Joinder may be executed in one or more counterparts, and all counterparts so executed shall
constitute one Joinder.

The undersigned hereby agrees and acknowledges that this Joinder shall become effective and
enforceable against the undersigned immediately upon its execution and delivery by the
undersigned and its acceptance by the Company.

NAME: Daniel Naus

Signature:

Date:                      03//q/1D//

AGREED TO AND ACCEPTED BY:

CONFIGAIR LLC

Signature:


Name and Title: Henry Kurz, Chief Technology Officer and Vice President

Date:
                                      CONFIGAIR LLC
                             JOINDER TO OPERATING AGREEMENT

The undersigned is hereby made a party to the Operating Agreement of CONFIGAIR LLC (as such
Operating Agreement is in effect on the date hereof and as it is from time to time amended and/or
restated hereafter) as a "member" thereunder, and the undersigned hereby agrees to be bound by
and to comply with the terms of the Operating Agreement.

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enforceable against the undersigned immediately upon its execution and delivery by the
undersigned and its acceptance by the Company.

NAME: Nizwer Husain

Signature:        K.74/vz
Date:              04 /2 9/,;1011

AGREED TO AND ACCEPTED BY:

CONFIGAIR LLC

Signature:              94,ee

Name and Title: Daniel Naus, CEO and President

Date:               03 / / f /20//
